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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

SHERRY PRITCHARD                                 §
                                                 §
vs.                                              §
                                                 §                          (JURY)
STATE FARM MUTUAL                                §
AUTOMOBILE INSURANCE                             §
COMPANY                                          §

      DEFENDANT STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY
                          NOTICE OF REMOVAL

TO THE HONORABLE JUDGE OF SAID COURT:

        Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendant State Farm Mutual Automobile

Insurance Company (“State Farm”) files this Notice of Removal of the present action from the

234th Judicial District Court of Harris County, Texas to the United States District Court for the

Southern District of Texas, Houston Division, on the basis of diversity of citizenship and amount

in controversy. In connection with this Notice of Removal, State Farm would respectfully show

unto the Court as follows:

                                             I.
                                       INTRODUCTION

        1.     This lawsuit began on or about July 14, 2019, when Plaintiff Sherry Pritchard, filed

her Original Petition in Cause No. 2019-47575 in the 234th Judicial District Court of Harris

County, Texas, styled Sherry Pritchard v. State Farm Mutual Automobile Insurance Company.

The suit arises from an automobile accident that occurred on September 27, 2017 in Harris County,

Texas. Plaintiff seeks to recover uninsured/underinsured motorist benefits from State Farm.

        2.     State Farm was served with Plaintiff’s Original Petition on July 19, 2019 and filed

its Original Answer on August 7, 2019.
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                                            II.
                                   GROUNDS FOR REMOVAL

     A. Complete Diversity of Citizenship Exists Between the Parties, and the Amount in
        Controversy Exceeds $75,000

        3.      Removal is proper because there is complete diversity of citizenship between the

parties, and the alleged amount in controversy exceeds $75,000, exclusive of interest and costs.

See 28 U.S.C. § 1332(a)(1).

        4.      Plaintiff is a resident and citizen of Texas. State Farm was and is incorporated in,

and a resident of, the State of Illinois.

        5.      Plaintiff’s Original Petition states she is seeking “monetary relief of one-hundred

thousand dollars or less.” (See Pl.’s Original Pet. at 1.) Thus, the amount in controversy exceeds

$75,000. See 28 U.S.C. § 1332(a)(1).

B.      Venue is Proper in This Division and in This District.

        6.      Plaintiff filed this action in Harris County, Texas. The Houston Division of the

Southern District of Texas encompasses Harris County, Texas. See id. § 124(b)(2). Thus, this

district and division embrace the place where the state court action is pending. See id. § 1441(a).

                                      III.
                     PROCEDURAL REQUIREMENTS FOR REMOVAL

        7.      State Farm was served on July 19, 2019. This Notice of Removal is being filed on

August 16, 2019. Accordingly, this Notice of Removal is timely filed within 30 days of when

State Farm received Plaintiff’s Original Petition and within one year of the commencement of this

suit. See id. § 1446(b).

        8.      A copy of this Notice of Removal will be filed with the Harris County District

Clerk’s office and served on Plaintiff promptly. See id. § 1446(d); see also Nixon v. Wheatley, 368

F. Supp. 2d 635, 640 (E.D. Tex. 2005).
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        9.     Pursuant to 28 U.S.C. § 1446(a) and Local Rule 81 of the Southern District of

Texas, this Notice of Removal is accompanied by the following documents:

               Exhibit A:      An index of matters being filed;

               Exhibit B:      The state court docket sheet, all executed process in the case, all
                               pleadings asserting causes of action, all answers to such pleadings,
                               and all orders signed by the state judge;

               Exhibit C:      A list of all counsel of record, including addresses, telephone
                               numbers, and parties represented.

        10.    The filing fee has been paid to the Clerk.

        11.    The filing of this notice, along with the filing of the notice in the state court and

service of the notice upon Plaintiff’s counsel, serves immediately to confer exclusive jurisdiction

of this cause upon this Court, and divests the state court of all jurisdiction over these proceedings

and claims.

                                               IV.
                                             PRAYER

        12.    State Farm prays that the above-styled action now pending in the 234th Judicial

District Court of Harris County, Texas be removed to this Honorable Court pursuant to the Court’s

diversity jurisdiction, that upon final trial, judgment be rendered that Plaintiff take nothing by his

suit against State Farm, and for such other and further relief to which State Farm may be justly

entitled.

        13.    This Notice of Removal is filed subject to and without waiver of any defenses or

objections to Plaintiff’s Original Petition as allowed by the Federal Rules of Civil Procedure or by

any applicable law.

        14.    A jury fee was paid in state court and Defendant hereby requests a jury trial in this

cause of action.
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                                    Respectfully submitted,

                                    GERMER PLLC

                                    By:_____________________________
                                          DALE M. “RETT” HOLIDY
                                          Federal Bar No. 21382
                                          State Bar No. 00792937
                                          America Tower
                                          2929 Allen Parkway, Suite 2900
                                          Houston, Texas 77019
                                          (713) 650-1313 – Telephone
                                          (713) 739-7420 – Facsimile
                                          rholidy@germer.com

                                    ATTORNEY FOR DEFENDANT,
                                    STATE FARM MUTUAL AUTOMOBILE
                                    INSURANCE COMPANY

OF COUNSEL:
GERMER PLLC
Lauren N. Herrera
Federal Bar No. 3174150
State Bar No. 24092720
America Tower
2929 Allen Parkway, Suite 2900
Houston, Texas 77019
(713) 650-1313 - Telephone
(713) 739-7420 - Facsimile
lherrera@germer.com
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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing instrument was
forwarded to all known counsel pursuant to the Federal Rules of Civil Procedure on this the 16th
day of August, 2019.

       John Papavlou                                              VIA CM/ECF
       Porya Mostaghimi
       PM LAW FIRM, PLLC
       19333 Highway 59 N., Suite 190
       Humble, Texas 77338
       john@pmtxlaw.com
       porya@pmtxlaw.com



                                                   DALE M. “RETT” HOLIDY
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       INDEX OF DOCUMENTS FILED WITH REMOVAL ACTION

SHERRY PRITCHARD v. STAT FARM AUTOMOBILE INSURANCE COMPANY

        (A)   Plaintiff’s Original Petition

        (B)   Citation

        (C)   Answer for Defendant State Farm

        (D)   State Court Case Summary/Docket Sheet




                                 Exhibit A
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                                                                                                            7/14/2019 8:56 PM
                                                                                 Marilyn Burgess - Dislricl Clerk Hanis County
                                                                                                       Envelope No. 35106703
                          2019-47575 / Court: 234                                                             By: Nelson Cuero
                                                                                                    Filed: 7/15/2019 12:00 AM


                                   CAUSE NO. -----

SHERRY PRITCHARD                    § IN THE DISTRICT COURT
                                    §
v.                                  §
                                    § OFHARRJS COUNTY, TEXAS
STATJJ: FAR.J\,l MUTUAL AUTOMOBJl,E §
INSURANCE COl\1PANY                 §      JUDICIAL DISTRICT


       PLAINTIFF'S ORIGINAL PETITION, REQUESTS FOR__QIS..CLOSURE TO
    DEFE-NDANT. (N:TERROGATQ_RUl:.S...T.0 DEFENDA�J. AND �EJ2.1IJ�STS FOR
                               PRODUCTION TO DEFENDf\NI

TO THE HONORABLE JUDGE OF SAID COURT:

CONIES NOW, Plaintiff SHERRY PRITCHARD (hereinafter "Plaintiff') complaining of

STATE FARM MUTUAL AUTOMOBILE INSURANCE COJ\,1PANY (hereinafter Defendant

"STATE FARM"), and for cause of action would respectfully show unto the Court the

following:


                                DISCOVERY CONTROL PLAN

I. Plaintiff advises the Court and Defendant that this cause of action is governed by the rules for

   Expedited Actions under Texas Rules of Civil Procedure Rule 169 because Pfaintiff is seeking

   only monetary relief of one-hundred thousand dollars or less including damages of any kind,

   penalties, costs, expenses, pre-:,judgment interest, and attorneys foes. Damages sought are within

   the jurisdictional litnits of the court. Discovery is intended to be conducted under level I of

   Rule 190.2 of the Texas Rules of Civil Procedure.

                                               ll.
                                             PARTIES




-----------------�                                                     --·�--�
                                                 ..� ,..,.�.----·-··�·..
PLAINTIFF'S ORIGINAL PETITION                                                               Page 1

                                        Exhibit B
f
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    e




        2. I(a) Plaintiff SHERRY PRTCHARD is an individual residing in I-ia.rris County, 'Texas, and

        may be reaclied tl,rough the undersigned attorney.

        2.2     Defendant S7'ATE FARM ML'TUAL AUT0NIOE3TL;E INSURANC.E COMPANY is an

        insurance company in good standing with the Texas Department of Insurance, whicli writes

        policies of auto insurance in the State of Tex.as. Defendant STATE FARNI NiUTUAL

        AUTOMOBBILE INSU:RANCE COMPA-NY can be served with personal process by serving its

        registered a„ent, Corporation Service Coinpaiiy, at 211 E. 7th Street, Suite 620, Austin, Texas

        78701-321.8.

                                                           EII.
                                           J'[7ItIS13.lCT.ION ANI3 VENtJE

        3.1     Jurisdictioii is proper in this Court because the amount in controversy exceeds the

        minimum jurisdictioial Iimits of this Court.

        3.2     Venue is proper in Harris County because all or part ofthe cause of action arose in Harris

        County, Texas, See Ti;x. CIv. Pttqc. AND Rmti4.. CoDE §15.002(a)(1). '

        3.3     This Court has personal jurisdiction c}ver Defendant because.it was doina business in the

        State of Texas.

        3.4     Jurisdiction is proper in this C:ourt because the .amount in controversy exceeds the

        minimurn jurisdictional limits of this Court. Piaintiff's seek moneta7y relief of one hundred

        thousand dollars or less, including damages of any kind, penalties, costs, expenses, pre judgment

        interest and attorneys' fees.

                                                      IV.
                                             STATEIVIEN'T O:F FACTS




        1')r..AINTIFF'S_..t)RIGINAL PTTITIQI!l — Page 2
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4.1    This is a petition for uninsured motorist benefits arising from an automobile accident

which occurred on or about September 27, 2017 (hereinafter referred to as "the Collision") in

Harris County, Texas.

4.2    At the time of the collision, SHERRY PRITCHARD was a beneficiary insured under

Policy Number 3234-042-53A (hereafter '"Insurance Policy") with STATE FARM. The

Insurance Policy was in force and in effect at the time of the collision which forms the basis of

this lawsuit and contained, among other coverages, coverage for Uninsured/Underinsured

Motorist benefits in the amount of at least $100,000 per person, and $300,000 per accide11t

applicable to this claim and this accident, and which are the subject of this lawsuit.

4.3     Pursuant to the Insurance Policy, STATE FARM promised to Plaintiff, all sums which

STATE FARM is legally obligated to pay under the Insurance Policy, including loss caused by

bodily injury resulting from the ownership, maintenance, or use of an uninsured/underinsured

motor vehicle.

4.4     Plaintiff has complied with all conditions precedent in the policy to bring this claim.

4.5     At the time of the collision, Plaintiff was operating and occupying the automobile that is

listed on the Insurance Policy with STATE FARM. An uninsured motorist, ISAAC ORTEGA,

caused a collision with Plaintiff's vehicle.

4.6     The uninsured motorist was not known to have a valid insurance policy, and therefore

was an uninsured motorist at the time of the accident, and caused the accident with Plaintiff's

vehicle.

4.7     As a direct result of the automobile collision, Plaintiff sustained serious, permanent and

painful bodily injuries.

                                                  V.


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    5.1    As a result of this occurrence, .Plaintiff has suffered badily injuries and damages. In

    addition, Plaintiff cotitinues to suffer pain. These injuries have required reasonabie and

    necessary nzedical treatment and procedures. Such injuries are permanent in nature and are, in

    reasonable probability, likeiy to continue into the future.

    5.2    Plaintiff has suffered and seeks the following damagges:

           a.         MediOl           ses: Plaintiff has incurred medical expenses. These expenses

           were incurred for reasonable and necessary care and treatment of these injuries. The

           charges incurred are reasonable aud were the usual a.nd customary charges for the same

           or similar services at the time and place rendered. Plaintiff also expects to incur

           additional expenses in the fcrture in an amount within the jurisdictional limits of this

           Court;

           b.         Physical P~inAntD„5ufleering: Plaintiff has endured severe physical pain and

           suffering in the past and will continue to endure severe physical pain. and sufferiiig in the

           firture;

           c.         IVlelntal AEiguish: Plaintiff has endured severe mental anguish in the past and wil l

           continue to endui-e severe metital anguish in the future;

           d.         Loss of Earnine CftpnciO_: Plaintiff has sustained a loss of net earnings in the

           past, and in reasonable prohability, Plaintiff will sustain a loss of earning capacity in the

           future;

           e.         Phti,sic:al Iintaairiizent: Plaintiff lias suffered physical impairment in the past and

           will continue to suffer physical impairment in the future; and




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5.3     By reason of the above and foregoing, Plaintiff has been damaged in a sum within the

jurisdictional limits of this Court, for which Plaintiff hereby sues.

                                  Vl.
           THE RIGHT TO SULPLEMENT AND TO AMENJ)TJJIS. PETITION

6. 1    Plaintiff reserves the right to plead further injuries and acts of negligence subsequent to

further discovery in this cause.


                                                 vu.
            �ACKGRQ!JND REGARDING E.KTR-��C9NTRACTUA1 (;LAlMS
9.1     Plaintiff incorporates by reference the facts asserted above herein by reference.

9.2     On December 2, 2018, counsel for Plaintiffforivarded a demand for payment of the

policy limits on the Uninsured Motorist claim. STATE FARM acknowledged receipt of the

demand letter, and after Plaintiff provided aH of the necessary documentation requested,

subsequently. made an offer of settlement that was well below Plaintiffs medical bills. Despite

receiving all of the items, statements, and forms required by the insurer, STATE FARM has

failed and refused to pay Plaintiff fully for the benefits to which Plaintiff is entitled to properly

and fully compensate Plaintiff for damages under the Insurance Policy as a result of the accident.

Such conduct is an unreasonable delay in payment of the claim.

                                         VIII.
                      rHAPTER �41 TEXAS lNSU,RA�_(;_E__CQP.J,:_;
                 UNFAIR METHODS OF COMPETITION AND UNFAIR OR
                 -··"   ,....DECEPTIVE ACTS OR PRACTICES

 10.1   Defendant STA TE FARM has engaged in unfair methods of competition or unfair

or deceptive acts or practices in the handling of Plaintiffs' underinsured motorist claim.

STATE FARM has viol�ted § 541.060 of the Texas Insurance Code by:




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    l. Failing to attempt in good faith to effectuate a prompt, fair, and equitable
       settlement of a claim with respect to which the insurer's liability has become
       reasonably clear; and
    2. Failing to promptly provide to a policyholder a reasonable explanation of the
       basis in the policy, in relation to the facts or applicable law, for the insurer's offer
       of a compromise settlement of a claim;

IO .2   Pursuant to § 541. 151 of the Texas Insurance Code, a person who sustains actual

damages may bring an action against another person for those damages caused by the other

person engaging in an act or practice, and pursuant to § 541.152, Plaintiff may obtain relief

including the amount of actual damages, plus court costs and reasonable and necessary attorneys'

fees.

                                         IX.
               ATTOR.l�YS' FJ:lE.S ON EX1'J�A.:!:ONTRACTUAl, �l�.AIMS

12.1    As a result of the conduct of STATE FARM as described above, Plaintiff has been forced
to retain legal counsel. The contract provides for usual and customary, reasonable and
necessary, and just and equitable attorneys' fees.


                                                  X.
                NOTI(]t OF SELF-1!,lIHENTICA'l]QN,QE DQ�!J.MEl�LIS

13 .1   Pursuant to Rule 193. 7 of the Texas Rules of Civil Procedure, this shall serve as written

notice of the Plaintiffs' intent to self-authenticate any and all documents produced in discovery,

and that such documents may be used against the paity producing same at any pre-trial

proceeding, hearing and at the time of any tdal, post-trial matter or appeal regarding this case.

                                                  XI.
                                              PRAYER
        WHEREFORE, PREMISES CONSIDERED, Plaintiff have and recover of and from

Defendant damages as alleged, jointly and severally, with prejudgment a11d post-judgment



J>LA.I�TIFF'S.ORIG!NAL.PETITlON - Page 6
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interest. costs of Couti, attorney's fees, and such other and further relief, general and special, at

law or in equity, as Plaintiff may be entitled to receive.



                                                             XII.
                                 ,..,,,_.,,a_,a�N...UEST
                                 RE'                        FOR DISCLOSURE
                                                 1
                                                    .,..
                                             .,Mnn ___   • • ------"-"" •"-"'°-''"· •   ,.......,..,..._,_.,,,




Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Plaintiff: requests that Defendant

disclose within fifty (50) days of service of this request, the information or material described in

Rule 194.2.

                                                                  XIII.
               INTERROGATORIF,.S,.At�D REQJJE�IS FORPRODlLrJIQN:

TO:       Defendants STATE FARM 1v1UTUAL AUTOMOBILE INSURANCE COMPANY, by

and through their attorney of record and registered agent at the time said Defendants are served

with this lawsuit.


                                                                                                                 f
Pursuant to Rules 196 and 197 of the Texas Rules of Civil Procedure, Plaintif hetcby serves

upon each Defendant these Interrogatories and Requests for Production to require Defendant to

answer and produce for inspection and/or photocopying at the offices of Plaintiff's attorney or at

a mutually convenient location on or before fifty (50) days from the receipt hereof.



                                      A. JNSTRUC1]QNS

 1        For each document or other requested information that you asse1t is privileged or for

any other reason excludable from discovery, identify that document or other requested

infonnation. State the specific grounds for the claim of privilege or other ground for

exclusion. Also, for each document, state the date of the document, the name, job title, and

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address of the person who prepared it, the name, address, and job title of the person to whom it

was addressed or circulated or who saw it; the name, job title, and address of the person now in

possession of the document; and a description of the subject matter of the document.



2.       For any requested information about a document that no longer exists or cannot be

located, identify the document, state how and when it passed out of existence, or \Vhen it could

no longer be located, and the reason(s) for the disappearance. Also, identify each person having

knowledge about the disposition or Joss of and identify each document evidencing the existence

or nonexistence of each document that cannot be located.



                                        B. DEFINITIONS



l.        "Defendant" means the Party to whom this discovery is propounded.

2.        "You" and "Your'' means the Party to whom this discovery is propounded, its agents,

representatives and all other persons acting in concert with it, or under its control, whether

directly or indirectly.

3.     "Document(s)" means all written, typed, or printed matter and all magnetic or other

records or documentation of any kind or description (including, without limitation, letters,

correspondence, telegrams, memoranda, notes, records, minutes, contracts, agreements, records,

or notations. of telephone or personal conversations, conference, inter-office communications, E­

mail, microfilm, bulletins, circulars, pamphlets, photographs, facsimiles, invoices, tape

recordings, computer print-outs and work sheets), including draft and copies not identical to the

original, all photographs and graphic matter, however produced or reproduced, and all


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compilations of data from which infonnation can be obtained, and any and all writing or

recordings of any type or nature, in your actual possession, custody, or control, including those

in the possession, custody or control of any and all present or former directors, officers,

employees, consultants, accountants, attorneys, or other agents, whether or not prepared by you."

4.       "Person" means any natural person, corporation, firm, association, partnership, joint

venture, proprietorship, governmental body, or any other organization, business, or legal entity.

5.       "Concerning" means in whole or in part, directly or indirectly, referring to, relating to,

connected with, commenting on, responding to, showing, describing, analyzing, reflecting, and

constituting.

6. "Communication'' means any oral or written communication of the Defendant or his agents,

representatives, and all other persons acting in concert with Defendant or under Defendant's

control, whether directly or indirectly.

7.    The word "and" means "and/or".

8.    The word "or" means "and/or".

9.        You are requested to produce your documents as they are kept in the ordinary course of

business or organized and labeled to correspond to the categories in the Request.

10.       When used herein, the phrase or word "incident" or "accident" refers to the automobile

accident that occurred on SEPTEMBER 27, 2017, which Plaintiff was involved in.

11.       When used herein, the phrase or word "claim" or "claims" refers to the claim for

benefits asserted by the Plaintiff to recover from injuries stemming from the accident that

occurred on SEPTEMBER 27, 2017 which the Plaintiff was involved in.



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lNTERROGATORY.NO.J

Give the name of the person(s) providing information for these interrogatories and requests for

production and for each such person state which interrogatory and request for production he or

she provided information for.



ANSWER:



I.�JERROGATORY NO� 2

Give the name, residential address, employer, residential telephone number, employment

telephone number, and title for each person who investigated Plaintiff's claims.



ANSWER:



INTERROGATORY NO. 3

Give the name, residential address, employer, residential telephone number, employment

telephone number, and title for each person who communicated with Plaintiff at your instruction

regarding Plaintiff's claims of injuries resulting from an incident and requests for insurance

policy benefits.



ANSWER:



INTERROGATORY NO!.�




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If you contend that the injuries complained of did not take place as claimed by Plaintiff, describe

the factual basis for that claim.



ANSWER:



lliil.RROGATQRY NJ). 5

If you contend that Plaintiff committed fraud and/or made material misrepresentations regarding

the auto accident and resulting injuries, and her claim for policy benefits, describe the factual

basis for that claim.



ANSWER:



INIJ!:RllOG�TORY NO.<>
If you contend that Plaintiff was part of, arranged, or were involved intentionally causing the

accident, state the factual basis for that contention.



ANSWER:



INTERROGATORY NO. 7

If you contend that Plaintiffs damages are exaggerated, state the factual basis for that

contention.



ANSWER.


PLAINTIFF'S_.ORtG:l.NA.L_fE.JJ.TLQJ�: - Page 11
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JNTERROGAIQRY.ItQ.JJ

If you contend that Plaintiff has not suffered injuries, state the factual basis for that contention.



ANSWER:



INiiRRQGATORY.N9�2
Fully detail the factual basis for your denial of the full policy limits afforded to Plaintiff under

the policy in question. In your answer please detail each and every provision contained in the

policy that supports your denial.



ANSWER:



l�If:RROGATORY NO�JO

Jf it is youtcontention thatPlaintiffvi.olated any part of the subject policy please detail each and

every provision contained in the policy that Plaintiff violated and each and every fact that

supports your contention.



ANSWER:



INTERROGA:rORY NO. ll




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Ifit is your contention that Plaintiff violated any part of the Texas Insurance Code, please detail

each and eve1y provision section in the statute that Plaintiff violated and each and every fact that

supports your contention.



ANSWER:



INTERROGATORYN0.12

Please detail each and every fact that proves that Defendant did not violate Article 542 §

542.003 of the Texas Insurance Code.



ANSWER



JNTERROGATORY NO. 13
•-----,..,•, ,.,.,.,..� ,.u•; ..,." ,,�   "("··"•�·<•�•




If you contend that Plaintiffs injuries existed before the accident that constitutes the underlying

basis of this lawsuit, state the factual basis for that contention.



ANSWER:



!NTERROGATQBXr!Q, .H
Please identify any previously recovered amounts you claim Plaintiff has received from

Defendant or other parties which would reduce or totally offset the amount Defendant owes to

Plaintiff under the underinsured policy that forms the basis of this lawsuit. Please identify them

by the party that made the payments, the amount of the payments and the date of said payments.


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ANSWER.




                               RE-QUESTS :FOR PRODUCTION

REQUEST NO. 1

All written policies informing your employees, adjustors and agents on how to investigate claims

of vehicle accidents and injuries resulting therefrom and how to conduct an investigation when

an agent believes that a fraudulent claim is being asserted.



RESPONSE:




All communications between you and Plaintiff.



RESPONSE:




All communications between you and all other entities relating to Plaintiffs claim.



RESPONSE:



RE()UEST NO. 4


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AH communications between you and all other entities relating to Plaintiffs request for benefits

under the Texas Automobile. Insurance Policy in question.



RESPONSE:



REQUEST NO. 5



Your complete non-privileged claims file regarding the Plaintiffs claim.



RESPONSE:



RE<)UEST NO. 6

If you contend that Plaintiff committed fraud regarding their claim for policy benefits, produce

all documents that are evidence of or support that contention.



RESPONSE:



!!EQUEST NO. 7

If you contend that the Plaintiff made false statements, concealed facts, or made material

misrepresentations regarding their claim for policy benefits, produce all documents that are

evidence of or support that contention.



RESPONSE:


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REQUEST NO. 8

All photographs. newspaper articles, videotapes, motion pictures, drawings, sketches or diagrams

which pertain to the claim which forms the basis of this lawsuit.



RESPONSE:



RE.QJJEST NQ. ?

All written procedures and guidelines used by your agents, adjustors and employees in

investigating policy holders claims.



RESPONSE:



REQUEST NO. 10

All documents and things relating to bills and invoices you refused to pay arising from the

subject incident.



RESPONSE:



RE.QUEST NO. 11

All documents and things relating to your reasons for rejecting Plaintiff's claims.

RESPONSE·




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REQllEST,,NO. 12

If you contend that Plaintiff made any misrepresentations regarding the facts of the claim,

produce all documents relating to that contention.



RESPONSE:



RE!}!If,ST NQ.J.J

If you contend that P]aintiff has not suffered a loss as a result of the automobile accident,

produce all documents supporting such contention



RESPONSE:



REQ!JEST NO. 14.

Produce any and all documents that support and/or prove the basis for your denial of the full

policy limits afforded to Plaintiff under the policy in question.



RESPONSE:

filj:j)UEST NO. 15

Produce any and all documents that support and/or prove your contention that the Plaintiff

violated any part of the subject policy please detail each and every provision contained in the

policy that Plaintiff violated and each and every fact that supports your contention.



RESPONSE:


PLAINTIFF'S ORIGINAL PETITION- Page 17
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                                           Respectfully submitted,
                                           PM LAW FIRM, PLLC.


                                           ls/John Pap_g_pavlou
                                                              · ·· ...· ···> ·. ·. · . ··· •· .·>·· ... ···
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                                           ATTORNEYS FOR PLAINTIFF




PLAINTIFJf'S.QRIGlNAL PETITION -Page .18
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                                     CAUSE NO. 2019-47575

SHERRY PRITCHARD                                 §               IN THE DISTRICT COURT OF
                                                 §
v.                                               §
                                                 §                   HARRIS COUNTY, TEXAS
STATE FARM MUTUAL                                §
AUTOMOBILE INSURANCE                             §
COMPANY                                          §                 234TH JUDICIAL DISTRICT

                            DEFENDANT’S ORIGINAL ANSWER

 TO THE HONORABLE JUDGE OF SAID COURT:

        COMES       NOW,     STATE      FARM      MUTUAL        AUTOMOBILE             INSURANCE

 COMPANY, (hereinafter referred to as “State Farm”), Defendant in the above-entitled and

 numbered cause, and files this Original Answer to Plaintiff’s Original Petition and all subsequent

 supplemental and/or amended petitions filed against it and would respectfully show the Court

 and Jury as follows:

                                                 I.

        Pursuant to the provisions of Rule 92 of the Texas Rules of Civil Procedure, Defendant

 denies each and every, all and singular, the allegations contained in the Plaintiff’s Original

 Petition, and demands strict proof thereof.

                                                 II.

        Defendant would show that Plaintiff has failed to fulfill the conditions precedent for

 bringing an uninsured/underinsured motorist claim against Defendant. Specifically, Plaintiff has

 failed to establish that he is legally entitled to recover damages from the owner or operator of an

 uninsured or underinsured motor vehicle because of bodily injury sustained by him, caused by an

 accident.
      Case 4:19-cv-03084 Document 1 Filed on 08/16/19 in TXSD Page 28 of 32



                                                       III.

        Pleading further, Defendant would show that it is entitled to all credits and offsets

allowed under the policy against any damages awarded by the jury. Such credits and offsets

include, but are not limited to, all Personal Injury Protection (PIP) payments previously made by

State Farm to Plaintiff. Defendant is also entitled to an offset in the amount of all of the alleged

tortfeasor’s liability limits.

                                                       IV.

        Defendant would show that the alleged tortfeasor in this case are not uninsured or

underinsured as defined by the policy.

                                                       V.

        Defendant would show that Plaintiff’s “extra-contractual” allegations are premature and

without merit since no breach of the contract has occurred.

                                                       VI.

        Defendant would show any claim for breach of contract is meritless; specifically,

Defendant cannot be in breach of the contract because there has been no determine of (1)

liability, and (2) that Plaintiff’s damages exceed to tortfeasor’s policy limits, and all other

applicable offsets and credits.

                                                       VII.

        Defendant asserts that Plaintiff is not entitled to attorney fees in this case as there has not

yet   been    a   showing        of   liability   or   damages   entitling   Plaintiff   to   recovery   of

uninsured/underinsured motorist benefits.
     Case 4:19-cv-03084 Document 1 Filed on 08/16/19 in TXSD Page 29 of 32



                                               VIII.

        Defendant asserts that Plaintiff is not entitled to pre-judgment interest or any other

damages beyond the policy limits of uninsured/underinsured motorist coverage under the subject

insurance contract.

                                                IX.

        Plaintiff’s rights to recover medical expenses are limited by the provision of Tex. Civ.

Prac. & Rem. Code 41.0105. Plaintiff is only entitled to recover the amount paid or incurred by

or on behalf of the Plaintiff.

                                                 X.

        Defendant asserts that Plaintiff has failed to mediate her alleged damages.

                                                XI.

        Defendant would show that Plaintiff’s alleged injuries were the result of pre-existing

conditions that were not caused or aggravated by the accident at issue.

                                                XII.

        Defendant respectfully request a trial by jury.

                                               XIII.

        Defendant reserves the right to amend this Original Answer pursuant to the said Rules of

Civil Procedure.

        WHEREFORE, PREMISES CONSIDERED, Defendant prays that Defendant be

released and discharged of the charges filed against it; that Plaintiff takes nothing by reason of

this suit; and for such other and further relief to which Defendant may be justly entitled and for

which Defendant will forever pray.
     Case 4:19-cv-03084 Document 1 Filed on 08/16/19 in TXSD Page 30 of 32




                                            Respectfully submitted,

                                            GERMER PLLC

                                            By:_____________________________
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                                                  LAUREN N. HERRERA
                                                  State Bar No. 24092720
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                                                  rholidy@germer.com
                                                  lherrera@germer.com

                                            ATTORNEY FOR DEFENDANT,
                                            STATE FARM MUTUAL AUTOMOBILE
                                            INSURANCE COMPANY


                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing instrument has been served
on all counsel of record on this 7th day of August, 2019.

       John Papavlou                                                      VIA E-FILE
       Porya Mostaghimi
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                                                    DALE M. “RETT” HOLIDY
              Case 4:19-cv-03084 Document 1 Filed on 08/16/19 in TXSD Page 31 of 32
                                                   Harris County Docket Sheet


2019-47575
COURT: 234th
FILED DATE: 7/15/2019
CASE TYPE: Insurance

                                             PRITCHARD, SHERRY




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                                              Attorney: PAPAPAVLOU, JOHN




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                                                             vs.




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                     STATE FARM MUTUAL AUTOMOBILE INSURANCE




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                                             Attorney: HOLIDY, DALE MARETT




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                             LIST OF ATTORNEYS/PARTIES

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                               COMPANY

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                                     Exhibit C
